  Case 1:20-cr-00134-HG Document 32 Filed 12/15/20 Page 1 of 2 PageID.66


                                                                   FILED IN THE
                                                          UNITED STATES DISTRICT COURT
                                                               DISTRICT OF HAWAII
KENil M. PRICE # 10523                                      Dec 15, 2020, 3:09pm
United States Attorney                                    Michelle
                                                          M          Rynne, Clerk
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                                                                                  of Court
                                                                                     Court


District of Hawaii

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Attorneys for Plaintiff
UNITED STATES OF AMERICA

                 IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAll

UNITED STATES OF AMERICA,           )   CR. NO. 20-00134 HG
                                    )
                 Plaintiff,         )   INFORMATION
                                    )
           vs.                      )   [26 U.S.C. §§ 5841, 586 l(d), and
                                    )   5871]
ERIC HURST,                         )
                                    )
                 Defendant.         )
                                    )
_ _ _ _ __ _ _ _ )

                              INFORMATION

The U.S. Attorney charges:
  Case 1:20-cr-00134-HG Document 32 Filed 12/15/20 Page 2 of 2 PageID.67




                        Possession of an Unregistered Firearm
                       (26 U.S.C. §§ 5841, 5861(d), and 5871)

        On or about June 25, 2019., within the District of Hawaii, ERIC HURST, the

defendant, did knowingly possess a fireann not registered to him in the National

Firearms Registration and Transfer Record, namely, one weapon made from a

shotgun, Ithaca, Model 37, 16-gauge, bearing serial number ULT-M37160150,

knowing that the firerum had a barrel measuring less than 18 inches and an overall

length of less than 26 inches.

        All in violation of Title 26, Uruted States Code, Sections 5841, 5861(d), and

5871.

        DATED:1).u-\it~ \') , 2020, at Honolulu, Hawaii.




MICHAEL NAMMAR
Chief., Criminal Division



SARAD.AYABE
Assistant U.S. Attorney




United States v. Eric Hurst
Information
Cr.No.



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